Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 1 of 10




                   EXHIBIT 11
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 2 of 10


From:               Hanswirth, Dori Ann
To:                 Alex Folkerth
Cc:                 House, Theresa M.; Kirsten McCormack; Bobby Henssler; Elizabeth Shonson
Subject:            RE: Under Armour securities litigation/subpoena to Bloomberg LP
Date:               Monday, February 27, 2023 3:06:10 PM
Attachments:        image001.png
                    image002.png
                    image003.gif
                    image004.gif
                    image005.gif
                    image006.gif
                    image007.gif


EXTERNAL SENDER
Alex,

Thanks for your note. As we have previously discussed, Bloomberg’s
documents are protected by the journalists’ privilege and we have no
information to indicate that your clients have a critical, specific need for them
and cannot obtain them from other sources. We have offered to consider legal
arguments from you, and to compare our set of collected documents against
what has already been produced by others, but your side does not want to do
either of those. In addition to the journalists’ privilege, Bloomberg is also
protected by Rule 45 from burdensome, cumulative, and duplicative discovery.
As you can imagine, responding to nonparty subpoenas in civil cases places a
significant and particularly difficult burden on the news media. For these
reasons, Bloomberg will stand by its objections.

Of course, I am happy to discuss this with you further should you wish to do so.

Best,
Dori
_______________
Dori Hanswirth
Partner | Bio



250 West 55th Street
New York, NY 10019-9710
T: +1 212.836.8095
Dori.Hanswirth@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 3 of 10


From: Alex Folkerth <AFolkerth@rgrdlaw.com>
Sent: Thursday, February 23, 2023 4:28 PM
To: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>; Bobby Henssler <BHenssler@rgrdlaw.com>; Elizabeth Shonson
<eshonson@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

 External E-mail

Dori and Theresa,

Appreciate your time on the phone this afternoon. You indicated that your client intends to stand on
its claim of reporter’s privilege and will not produce documents in response to our subpoena.

We discussed the possibility of me obtaining Defendants’ consent to share the documents they
produced regarding Ms. Ruhle with you so that you could review and let us know whether you have
collected documents that are additional to the ones that we have. Having given that some thought
and discussed it with our team, I do not think that would be productive – especially absent any
commitment from you to produce documents after going through such an exercise. This idea also
does not address the internal communications that we seek from Bloomberg, which we obviously
did not obtain from Defendants.

Thus, we appear to be at impasse. If we do not hear otherwise from you by close of business next
Monday, 2/27, we intend to move to compel a production from your client.

Thank you,

T. Alex B. Folkerth




58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100




From: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Sent: Tuesday, February 21, 2023 8:08 AM
To: Alex Folkerth <AFolkerth@rgrdlaw.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 4 of 10


EXTERNAL SENDER
Alex, that should work for us.

Dori
_______________
Dori Hanswirth
Partner | Bio



250 West 55th Street
New York, NY 10019-9710
T: +1 212.836.8095
Dori.Hanswirth@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter




From: Alex Folkerth <AFolkerth@rgrdlaw.com>
Sent: Monday, February 20, 2023 2:11 PM
To: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

 External E-mail

Dori and Theresa,

Following up on the below. I’m available to discuss this Thursday (2/23/23) at 2:00 p.m. ET if that
works.

Thanks,

T. Alex B. Folkerth




58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100




From: Alex Folkerth
Sent: Monday, February 6, 2023 7:07 PM
To: 'Hanswirth, Dori Ann' <Dori.Hanswirth@arnoldporter.com>
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 5 of 10


Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

Dori and Theresa,

Thank you for your time on the phone this afternoon. As I explained, the reporter’s privilege does
not apply to Ms. Ruhle’s communications regarding Under Armour because she was not acting as an
independent journalist. I asked Mr. Haber to collect emails that Ms. Ruhle exchanged with the
domains “@underarmour.com” and “@ua.com” in January 2016 so that he could see the factual
basis for our position, as we are prevented from sharing the documents that Under Armour
produced to us by the protective order in our case. It would be helpful to know how many emails
were yielded by that collection.

We are also willing to negotiate narrowly targeted search parameters for a collection and production
by your client. Because, however, we are interested in Ms. Ruhle’s communications with other third
parties and not only her communications with Under Armour and Mr. Plank, those parameters
would be slightly different from the ones described above. I propose the following two-part
production:

       Part One
             Custodian
                    Stephanie Ruhle, SENT emails only
             Time Period
                    January 10, 2016 – January 24, 2016
             Search terms
                    Under Armour
                    UAA
       Part Two
             The emails already collected between Ms. Ruhle and “underarmour.com” or “ua.com”
             in January 2016

Let’s touch base again once you have had a chance to discuss our proposal with your client. How
about next Thursday, Feb. 16 at 2:00 p.m. ET?

All best,

T. Alex B. Folkerth




58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 6 of 10




From: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Sent: Thursday, February 2, 2023 1:04 PM
To: Alex Folkerth <AFolkerth@rgrdlaw.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

EXTERNAL SENDER
I did think you meant 5:00 pm on the east coast, so let’s keep it there. In
answer to your prior question, we have reviewed Bloomberg’s emails between
Ruhle and Plank, and/or Under Armour from January 2016.


_______________
Dori Hanswirth
Partner | Bio



250 West 55th Street
New York, NY 10019-9710
T: +1 212.836.8095
Dori.Hanswirth@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter




From: Alex Folkerth <AFolkerth@rgrdlaw.com>
Sent: Thursday, February 2, 2023 12:57 PM
To: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

 External E-mail

I see my previous email contained a typo – I meant to suggest 2:00 p.m. ET. I set the calendar event
for 2:00 p.m. ET but if you understood me to be suggesting 5:00 p.m. ET (i.e., 2:00 p.m. PT) I can
make myself available then, too.

Thanks,

T. Alex B. Folkerth
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 7 of 10




58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100




From: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Sent: Thursday, February 2, 2023 12:49 PM
To: Alex Folkerth <AFolkerth@rgrdlaw.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

EXTERNAL SENDER
Yes, that date and time is convenient. Would you please send a calendar invite?

Thanks.
Dori
_______________
Dori Hanswirth
Partner | Bio



250 West 55th Street
New York, NY 10019-9710
T: +1 212.836.8095
Dori.Hanswirth@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter




From: Alex Folkerth <AFolkerth@rgrdlaw.com>
Sent: Thursday, February 2, 2023 11:39 AM
To: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>; Kirsten McCormack
<KMcCormack@rgrdlaw.com>
Subject: RE: Under Armour securities litigation/subpoena to Bloomberg LP

 External E-mail

Hi Dori,
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 8 of 10


Thanks for your email. I assume you are familiar with my correspondence with Mr. Haber. Have you
reviewed Ms. Ruhle’s emails with Under Armour and Mr. Plank from January 2016?

I think a call to discuss is a good idea. How about this coming Monday, 2/6, at 2:00 p.m. PT?

Best,

T. Alex B. Folkerth




58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100




From: Hanswirth, Dori Ann <Dori.Hanswirth@arnoldporter.com>
Sent: Wednesday, February 1, 2023 3:55 PM
To: Alex Folkerth <AFolkerth@rgrdlaw.com>
Cc: House, Theresa M. <Theresa.House@arnoldporter.com>
Subject: Under Armour securities litigation/subpoena to Bloomberg LP

EXTERNAL SENDER
Alex,

Bloomberg LP has retained us to handle the nonparty
document subpoena that your firm has served, and to which
our client has objected, in the Under Armour securities case.
Please contact me should you wish to discuss the matter.

Best,
Dori
_______________
Dori Hanswirth
Partner | Bio



250 West 55th Street
New York, NY 10019-9710
   Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 9 of 10


T: +1 212.836.8095
Dori.Hanswirth@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter




This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended recipient,
please note that any dissemination, distribution, or copying of this communication is strictly prohibited. Anyone who receives this message in error
should notify the sender immediately by telephone or by return e-mail and delete it from his or her computer.
___________________________________________
For more information about Arnold & Porter, click here:
http://www.arnoldporter.com

NOTICE: This email message is for the sole use of the intended
recipient(s) and may contain information that is confidential and
protected from disclosure by the attorney-client privilege, as
attorney work product, or by other applicable privileges. Any
unauthorized review, use, disclosure or distribution is prohibited.
If you are not the intended recipient, please contact the sender
by reply email and destroy all copies of the original message.




This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended recipient,
please note that any dissemination, distribution, or copying of this communication is strictly prohibited. Anyone who receives this message in error
should notify the sender immediately by telephone or by return e-mail and delete it from his or her computer.
___________________________________________
For more information about Arnold & Porter, click here:
http://www.arnoldporter.com

NOTICE: This email message is for the sole use of the intended
recipient(s) and may contain information that is confidential and
protected from disclosure by the attorney-client privilege, as
attorney work product, or by other applicable privileges. Any
unauthorized review, use, disclosure or distribution is prohibited.
If you are not the intended recipient, please contact the sender
by reply email and destroy all copies of the original message.




This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended recipient,
please note that any dissemination, distribution, or copying of this communication is strictly prohibited. Anyone who receives this message in error
should notify the sender immediately by telephone or by return e-mail and delete it from his or her computer.
___________________________________________
For more information about Arnold & Porter, click here:
http://www.arnoldporter.com

NOTICE: This email message is for the sole use of the intended
recipient(s) and may contain information that is confidential and
protected from disclosure by the attorney-client privilege, as
attorney work product, or by other applicable privileges. Any
unauthorized review, use, disclosure or distribution is prohibited.
If you are not the intended recipient, please contact the sender
by reply email and destroy all copies of the original message.




This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended recipient,
please note that any dissemination, distribution, or copying of this communication is strictly prohibited. Anyone who receives this message in error
should notify the sender immediately by telephone or by return e-mail and delete it from his or her computer.
___________________________________________
For more information about Arnold & Porter, click here:
http://www.arnoldporter.com

NOTICE: This email message is for the sole use of the intended
recipient(s) and may contain information that is confidential and
protected from disclosure by the attorney-client privilege, as
attorney work product, or by other applicable privileges. Any
unauthorized review, use, disclosure or distribution is prohibited.
If you are not the intended recipient, please contact the sender
by reply email and destroy all copies of the original message.
  Case 1:23-mc-00070-LAK-GWG Document 66-11 Filed 08/23/23 Page 10 of 10



This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended
recipient, please note that any dissemination, distribution, or copying of this communication is strictly prohibited. Anyone who receives
this message in error should notify the sender immediately by telephone or by return e-mail and delete it from his or her computer.
___________________________________________
For more information about Arnold & Porter, click here:
http://www.arnoldporter.com
